

People v Bufford (2021 NY Slip Op 05309)





People v Bufford


2021 NY Slip Op 05309


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Renwick, J.P., Gische, Kapnick, Kennedy, Shulman, JJ. 


Ind. No. 4872/14 Appeal No. 14276 Case No. 2016-926 

[*1]The People of the State of New York, Respondent,
vTroy Bufford, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Kristina Schwarz of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Laura A. Ward, J.), rendered October 19, 2015, convicting defendant, upon his plea of guilty, of assault in the second degree, and sentencing him to a term of two years, unanimously affirmed.
Defendant's claim that the order of protection imposed at sentencing was procedurally defective requires preservation (see People v Nieves, 2 NY3d 310, 315-317 [2004]), and we decline to review this unpreserved claim in the interest of justice. As an alternative holding, we find that the record sufficiently reflects the reasons for imposing the order
of protection (see People v Gonzalez, 178 AD3d 440 [1st Dept 2019], lv denied 35 NY3d 941 [2020]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








